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 6
                                     US DISTRICT COURT
 7
                    NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO
 8

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10                                             )   NO.
     DANIEL EVERETT                            )
11                                             )   COMPLAINT FOR DECLARATORY AND
            Plaintiff                          )   INJUNCTIVE RELIEF PURSUANT TO
12                                             )
                                               )
13                                             )   Redacted Version, incl. appendix. May
         v.                                    )   Not Be Examined Without Court Order.
14                                             )   contains material from conditionally
                                               )   sealed record. Contains files from
15                                             )   Confidential Proceeding. Rules of
     JUSTICES OF THE CALIFORNIA SUPREME            Procedure of the State Bar of
16                                                 California, Rule of Procedure
     COURT, STATE BAR COURT JUDGE                  5.10(A)/NDC LR 79(e)
17
     YVETTE ROLAND, STATE BAR OF
18                                                 Court:
     CALIFORNIA, STATE BAR OF                      Date/TIME:
19                                                 DEPT:
     CALIFORNIA, et al.                            Judge:
20                                                 Hearing:
21
            Defendants.
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